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UNITEI) STATES DISTRICT COURT
MIDDLE I)ISTRICT oF FLoRn)Am_ s w , n ,,9 .P-;‘_._| 3._ 07

ORLANDO DIVISION tul@j mm .-_
FERLENCIEL DoWDELL, ' ` ` '
Plaintiff,
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l\/IIDFLORlDA FINANCING, LLC.,

Defendant.

 

COMPLAINT AND DEMAND F()R .]URY TRIAL

Plaintifl`, FERLENCIEL DOWDELL sues Del`endant, MIDFLORIDA FINANCING,

LLC and states as follows:
lntroduction

l. This is an action alleging violations of the Telephone Consumer Protection Act,
47 U.S.C. § 227 et Seq. (“TCPA”) and the Florida Consumer Collection Practices Act, Fla. Stat.
§ 559.55 et seq. (“FCCPA”).

2. The TCPA Was enacted to prevent companies like l‘\/IIDFLORIDA FINANCING,
LLC. (hereafter “Defendant”) from invading American citizens’ privacy and prevent abusive
“robocalls.”

3. The TCPA is designed to protect individual consumers from receiving intrusive
and unwanted telephone calls. M:`ms v. Arrow Ffa. Servs., LLC, 565 U.S. 368 (2012).

4. “Senator I-lollings, the TCPA’s sponsor, described these calls as ‘the scourge of
modern civilization. They wake us up in the morning; they interrupt our dinner at night; they
force the sick and elderly out of bed; they hound us until We want to rip the telephone out of the

wall.’ 137 Cong. Rec. 30,821 (1991). Senator Hollings presumably intended to give telephone

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subscribers another option: telling the auto-dialers to simply stop calling.” Osorz'o v. State Farm
Bank, F.S.B., 746 F. 3d 1242, 1256 (l lth Cir. 2014).

5. According to the Federal Communications Commission (FCC), “Unwanted calls
and texts are the number one consumer complaint to the FCC. There are thousands of complaints
to the FCC every month on both telemarketing and robocalls. The FCC received more than
215,000 TCPA complaints in 2014." Fact Sheet: Wheeler Proposal to Protect and Empower
Consumers Against Unwanted Robocalls, Texts to Wireless Phones, Federal Communications
Comrnission, (l\/Iay 27, 2015),
https://transition.fcc.gov/Daily_Releases/Daily_Business/2015/db0527/DOC-33 3676A1.pdf.

Jurisdiction, Venue and Parties

6. This Court has original jurisdiction over Plaintiff’ s claim arising under the TCPA
pursuant to 28 U.S.C. § 1331. See Mims v. Arrow Fin. Servs., LLC, 565 U.S. 368 (2012) and
Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242, 1249 (11th Cir. 2014). This Court has
supplemental jurisdiction over Plaintift’s state law claim, as the state law claim arises out of a
common nucleus of operative fact.

7. Venue is appropriate in the United States District Court for the Middle District of
Florida, Orlando Division, pursuant to 28 U.S.C. § 1391, as the events giving rise to Plaintiff’ s
claims occurred in Orange County, Florida.

8. Plaintiff is a natural person, and citizen of the State of Florida, residing in Orange
County, Florida.

9. Plaintiff is a “consumer” as defined in Florida Statutes § 559.55(8).

10. Plaintiff is an “alleged debtor.”

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ll. Plaintiff is the “called party.” See Breslow v. Wells Fargo Bank, N.A., 755 F.3d
1265 (l lth Cir. 2014) and Osorio v. State Farm Bank, F.S.B., 746 F.3d 1242 (1 lth Cir. 2014).

12. Defendant is a Florida Limited Liability Company with its principal place of
business located at 1200 West Memorial Boulevard, Lakeland, Florida 33815. Defendant’s
registered agent is located at 2925 Mall Hill Drive, Lakeland, Florida 33810.

13. The debt that is the subject matter of this Complaint is a “consumer debt” as
defined by Florida Statutes §559.55(6).

14. Defendant is a “creditor” as defined in Florida Statutes §559.55(5).

General Allegations

15. Defendant called Plaintiff on PlaintifPs cellular telephone approximately three
hundred and fifty (350) times in an attempt to collect a debt.

16. Defendant attempted to collect an alleged debt from Plaintiff by this campaign of
telephone calls.

17. Upon information and belief, some or all of the calls Defendant made to
Plaintiff’s cellular telephone number Were made using an “automatic telephone dialing system”
which has the capacity to store or produce telephone numbers to be called, using a random or
sequential number generator (including but not limited to a predictive dialer) or an artificial or
prerecorded voice; and to dial such numbers as specified by 47 U.S.C § 227(a)(1) (hereinafter
“auto-dialer calls”).

18. Plaintiff is the subscriber, regular user and carrier of the cellular telephone
number (407) ***- 4034, and was the called party and recipient of Defendant’s calls.

19. Defendant placed an exorbitant number of calls to Plaintiff's cellular telephone

(407) ***- 4034 in an attempt to collect on a car loan.

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20. Upon receipt of the calls from Defendant, Plaintiff"s caller ID identified the calls
were being initiated from, but not limited to, the following telephone number: (863) 688-2500.

21. On several occasions prior to March 2017, and after March 2017, Plaintiff
instructed Defendant’s agent(s) to stop calling her cellular telephone.

22. In or around March 2017, Plaintiff answered a call from Defendant to the
aforementioned cellular telephone number. Plaintiff spoke to Defendant’s agent/representative
and informed that agent/representative that the calls were harassing and demanded they cease
calling her cellular telephone number.

23. Each subsequent ca11 Defendant made to Plaintiffs aforementioned cellular
telephone number was knowing and willful and made without the “express consent” of Plaintiff.

24. Despite Plaintiff clearly and unequivocally revoking any consent Defendant may
have believed it had to call Plaintiff on her cellular telephone, Defendant continued to place
automated calls to Plaintiff.

25. Plaintiffs numerous conversations with Defendant’s agents/representatives over
the telephone, wherein she demanded cessation of calls, were in vain as Defendant continued to
bombard her with auto-dialer calls unabated.

26. Defendant intentionally harassed and abused Plaintiff on numerous occasions by
calling several times during one day, and on back to back days, with such frequency as can be
reasonably expected to harass.

27. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice to ca11 individuals just as it did to Plaintiff’s cellular telephone

in this case.

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28. Defendant has a corporate policy to use an automatic telephone dialing system or
a pre-recorded or artificial voice just as it did to Plaintiff’ s cellular telephone in this case, with no
way for the consumer, Plaintiff, or Defendant, to remove the number.

29. Defendant’s corporate policy is structured so as to continue to call individuals like
Plaintiff; despite these individuals explaining to Defendant they wish for the calls to stop.

30. Defendant has numerous complaints against it asserting that its automatic
telephone dialing system continues to call despite requested to stop.

31. Defendant has had numerous complaints against it from consumers asking to not
be called; however, Defendant continues to call the consumers.

32. Defendant’s corporate policy provided no means for Plaintiff to have her number
removed from Defendant’s call list.

33. Defendant has a corporate policy to harass and abuse individuals despite actual
knowledge the called parties do not wish to be called.

34. Not a single call placed by Defendant to Plaintiff was placed for “emergency
purposes” as specified in 47 U.S.C. § 227(b)(1)(A).

35. Defendant willfully and knowingly violated the TCPA with respect to Plaintiff.

36. From each and every call placed by Defendant to Plaintiff’s cellular telephone
without consent, Plaintiff suffered the injury of invasion of privacy and the intrusion upon her
right of seclusion.

37. From each and every call without express consent placed by Defendant to
Plaintiff’s cellular telephone, Plaintiff suffered the injury of occupation of her cellular telephone
line and cellular telephone by unwelcome calls, making the telephone unavailable for legitimate

callers or outgoing calls while the telephone was ringing from Defendant’s calls.

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38. From each and every call placed without express consent by Defendant to
Plaintiff's cellular telephone, Plaintiff suffered the injury of unnecessary expenditure of her time.
For calls she answered, the time she spent on the call was unnecessary as she repeatedly asked
for the calls to stop. Even for unanswered calls, Plaintiff had to waste time to unlock the
telephone and deal with missed call notifications and call logs that reflected the unwanted calls,
This also impaired the usefulness of these features of Plaintiff’s cellular telephone, which are
designed to inform the user of important missed communications

39. Each and every call placed without express consent by Defendant to Plaintiff’s
cellular telephone was an injury in the form of a nuisance and annoyance to Plaintiff. For calls
that were answered, Plaintiff had to go to the unnecessary trouble of answering them. Even for
unanswered calls, Plaintiff had to waste time to unlock the telephone and deal with missed ca11
notifications and call logs that reflected the unwanted calls, This also impaired the usefulness of
these features of Plaintiff’ s cellular telephone, which are designed to inform the user of
important missed communications

40. Each and every call placed without express consent by Defendant to Plaintist
cellular telephone resulted in the injury of unnecessary expenditure of Plaintiffs cellular
telephone’s battery power.

41. Each and every call placed without express consent by Defendant to Plaintiff`S
cellular telephone where a voice message was left which occupied space in Plaintiff’s telephone
or network.

42. Each and every call placed without express consent by Defendant to Plaintiff’s
cellular telephone resulted in the injury of a trespass to Plaintiff"s chattel, namely her cellular

telephone and her cellular telephone services

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43. As a result of the calls described above, Plaintiff suffered an invasion of privacy.
Plaintiff was also affected in a personal and individualized way by stress and anxiety.

COUNT I
(Violation of the TCPA)

44. Plaintiff restates and incorporates herein her allegations in paragraphs one (1)
through forty three (43) as if fully set forth herein.

45. Defendant willfully violated the TCPA with respect to Plaintiff, especially for
each of the auto-dialer calls made to Plaintiff’s cellular telephone after Plaintiff notified
Defendant that she wished for the calls to stop.

46. Defendant repeatedly placed non-emergency telephone calls to Plaintiff‘s cellular
telephone using an automatic telephone dialing system or prerecorded or artificial voice without
Plaintiff s prior express consent in violation of federal law, including 47 U.S.C. §
227(b)(1)(A)(iii).

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, treble
damages, enjoinder from further violations of these parts and any other such relief the Court may
deem just and proper.

coUNT 11
(violation of the FCCPA)

47. Plaintiff restates and incorporates herein her allegations in paragraphs one (l)
through forty three (43) as if fully set forth herein.
48. At all times relevant to this action Defendant was subject to and must abide by the

laws of the State of Florida, including Florida Statute § 559.72.

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49. Defendant has violated Florida Statute § 559.72(7) by willfully communicating
with the debtor or any member of her family with such frequency as can reasonably be expected
to harass the debtor or her family.

50. Defendant has violated Florida Statute § 559.72(7) by willfully engaging in other
conduct which can reasonably be expected to abuse or harass the debtor or any member of her
family.

51. 1 Defendant’s actions have directly and proximately resulted in Plaintiffs prior and
continuous sustaining of damages as described by Florida Statute § 559.77.

WHEREFORE, Plaintiff respectfully demands a trial by jury on all issues so triable and
judgment against Defendant for statutory damages, punitive damages, actual damages, costs,
interest, attorney fees, enjoinder from further violations of these parts and any other such relief

the Court may deem just and proper.

Respectfully submitted,

fgt/twa

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